Case 6:99-cr-70054-NKM           Document 495 Filed 06/13/11            Page 1 of 2        Pageid#:
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                       IN TH E UNITED STATES DISTRICT COURT
                      FOR TH E W ESTERN DISTRICT OF VIRGINIA
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                                                     CaseNo.6:99-cr-70054-6                D           E
UN ITED STA TES O F A M ERIC A

V.                                                   j2255M EM OM NDUM OPINION
CLAU D IO O TER O ,JR .,                             By:H on.N orm alK .M oon
     Petitioner.                                     United StatesD istrictJudge

       PetitionerClaudio Otero,Jr.,afederalinm ate proceeding pro K ,filed amotion for

reconsideration,plzrsuanttoFederalRuleofCivilProcedlzre60(b),ofhiscriminaljudgment
enteredin2000.Petitionerpreviouslyfiledaj2255motionthatthecourtdismisseduponthe
UnitedStates'motiontodismiss.Oterov.United States,No.7:01-cv-00523(W .D.Va.Jun.9,
2003).Uponreview oftheRule60(b)motion,thecourtconcludesthatitisappropriately filed
anddismissedasasuccessivej2255motion.SeeCalderonv.Thompson,523U.S.538,554
(1998)(statingsubjectmatterofmotiondeterminesitsstatus,notitscaption).
       W henaprisonerfilesaRule60(b)motioninaclosedcriminalcaseseekingrelieffrom
his crim inalconviction,the m otion m ay filed and dism issed as a successive m otion to vacate,

pursuantto28U.S.C.j2255(19.Gonzalezv.Crosbv,545U.S.524,531(2005)(citing
Calderon,523U.S.at553).SeeUnited Statesv.W inestock,340F.3d200,206(4thCir.2003).
tçgNqew legalargtlmentsorproffersofadditionalevidencewillusually signifythattheprisoneris
notseekingreliefavailableunderRule60(b)butisinsteadcontinuinghiscollateralattackonhis
convictionorsentence.''Id.at207.To allow prisonerstobringnew j2255claimsin aRule
60(b)motionwouldcircumventtherequirementunderj22554h)thatanysuccessivecollateral
attack firstbecertifiedby aCourtofAppeals.Gonzalez, 545 U .S.at531-32. Cf.W inestock,

340F.3dat207(t((A1motion seekingaremedyforsomedefectinthecollateralreview process
w illgenerally be deem ed a properm otion to reconsider.'')
Case 6:99-cr-70054-NKM          Document 495 Filed 06/13/11           Page 2 of 2     Pageid#:
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       ThecourtenteredOtero'scriminaljudgmentinJuly2000forconspiringtodistribute
cocaine.InhisRule60(b)motion,Oteroallegesthathereceivedineffectiveassistanceof
counseldttring sentencing and thathisconviction should be vacated.

Clearly,thisclaim fallssquarely within theclassofclaim sthatmustbe constnzed and treated as

asuccessivej2255claim.Petitionerattemptsto couchhismotionasRule60motionfor
reconsideration,butpetitioneractually attem ptsto relitigate m atters already decided. Therefore,

this m otion is the type thattçattacksthe federalcourt'spreviousresolution ofa claim on the

merits,''andthecourtmusttreattheRule60motionasasuccessivej2255motion.See
Gonzalez,545 U .S.at531.

       To pursue hispresentclaim ,petitionerm ustfirstobtain certification from the Fourth

CircuitCourtofAppealstofileasuccessivej2255motion.Becausehedoesnotpresentany
suchcertitkationwithhiscurrentmotion,hissuccessivej2255motionmustbedismissed,and
the courtw illnotreach the m erits ofthe claim .

       The Clerk isdirected to send copiesofthis m em orandtlm opinion and the accom panying

orderto petitionerand to cotm selofrecord forthe U nited States.
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       ENTER:ThishD'
                   edayofJune,2011.


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